

Matter of Kennedy (Commissioner of Labor) (2017 NY Slip Op 08789)





Matter of Kennedy (Commissioner of Labor)


2017 NY Slip Op 08789


Decided on December 14, 2017


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 14, 2017

524945

[*1]In the Matter of the Claim of CYNTHIA L. KENNEDY, Appellant. 
RICHARD P. STANKUS, Respondent. COMMISSIONER OF LABOR, Respondent.

Calendar Date: October 24, 2017

Before: McCarthy, J.P., Egan Jr., Rose, Clark and Aarons, JJ.


James M. Williams, Legal Services of Central New York, Syracuse, for appellant.
Hancock Estabrook, LLP, Syracuse (Robert C. Whitaker Jr. of counsel), for Richard P. Stankus, respondent.
Eric T. Schneiderman, Attorney General, New York City (Linda D. Joseph of counsel), for Commissioner of Labor, respondent.



MEMORANDUM AND ORDER
Appeal from a decision of the Unemployment Insurance Appeal Board, filed July 11, 2016, which ruled, among other things, that claimant was disqualified from receiving unemployment insurance benefits because her employment was terminated due to misconduct.
Decision affirmed. No opinion.
McCarthy, J.P., Egan Jr., Rose, Clark and Aarons, JJ., concur.
ORDERED that the decision is affirmed, without costs.








